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                                                                                RETAIN

      Lori S. Simpson , U. S. BANKRUPTCY JUDGE                    Evidentiary Hrg: Y N
                                                                   Exhibits Filed: Y N
                         PROCEEDING MEMO − CHAPTER 13



                                                       Date: 05/16/2023 Time: 02:00
      CASE: 22−12609 William C Bevan, Jr.

      John D. Burns representing William C Bevan Jr. (Debtor)

         T. Branigan  K. Moulding
              representing Timothy P. Branigan (Trustee)
      William Frederick Steinwedel representing Maryland Legal Aid Bureau
      (Other Party)

      [112] Motion to Convert Case from Chapter 13 to Chapter
      7. The filing fee in the amount of $25 is DEFERRED
      − Filer is the Case Trustee and will pay the fee
      to the extent that there is an estate. Filed by
      Timothy P. Branigan.

MOVANT : Timothy Branigan (no aty)

      [120] Response on behalf of William C Bevan Jr. Filed
      by John D. Burns (related document(s) 112 Motion
      to Convert Case from Chapter 13 to Chapter 7 filed
      by Trustee Timothy P. Branigan).


      [130] Motion To Enforce Confirmed Plan and Confirmation
      Order Filed by William C Bevan Jr.. (Attachments:
      #s4 Proposed Order)

MOVANT : William Bevan BY J Burns

      [134] Supporting Response on behalf of Manor Care of Bethesda
      MD, LLC Filed by William Mark Rudow (related document(s)
      3 Certificate of Service)

MOVANT : Manor Care of Bethesda MD, LLC BY W Rudow

      [135] Response on behalf of William C Bevan Jr. Filed
      by John D. Burns (related document(s) 134 Response
      filed by Creditor Manor Care of Bethesda MD, LLC).


      [137] Line Entering Affidavit of Christina Moore, Supervising
      Attorney, Administrative Law Unit, Maryland Legal
      Aid Bureau on behalf of Maryland Legal Aid Bureau
      Filed by William Frederick Steinwedel (related document(s)
      1 Affidavit)

MOVANT : Maryland Legal Aid Bureau BY W Steinwedel



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      [138] Response on behalf of Old Georgetown Village Homeowners
      Association, Inc. Filed by M. Evan Meyers (related
      document(s) 130 Motion for Miscellaneous Relief
      filed by Debtor William C Bevan). (Meyers, M.)


      [155] Motion For Order To Require Debtor To Reenter Rockville
      Property And Assume Possession And Dominion Over
      Same On Or Before May 1, 2023 Filed At The Direction
      of William C. Bevan Filed by William C Bevan Jr.
      . (Attachments: #s2 Proposed Order)

MOVANT : William Bevan BY J Burns

      [160] Line Supplying Email of Debtor and Response to Service
      List In Aid of Emergency Hearing and Motion to Enforce
      Plan on behalf of William C Bevan Jr. Filed by John
      D. Burns (related document(s) 1 Exhibit 1)

MOVANT : William Bevan BY J Burns

      [165] Objection on behalf of Old Georgetown Village Homeowners
      Association, Inc. Filed by M. Evan Meyers (related
      document(s) 155 Motion for Miscellaneous Relief
      filed by Debtor William C Bevan). (Meyers, M.)

MOVANT : Old Georgetown Village Homeowners Association, Inc. BY N Kenworthy M
Meyers

      [169] Motion to Sell 3415 Wenona S.; Laurel MD 20724 Free
      and Clear of Liens and Notice of Motion. Fee Amount
      $188. Notice Served on 4/29/2023, Filed by
      William C Bevan Jr.. Objections due by 05/22/2023.
      with three additional calendar days allowed if
      all parties are not served electronically. Hearing
      scheduled for 05/31/2023 at 02:00 PM − Courtroom
      3−D. (Attachments: #s3 List of All Creditors)

MOVANT : William Bevan BY J Burns

      [171] Line Status Hearing for May 3, 2023 Hearing on behalf
      of William C Bevan Jr. Filed by John D. Burns (related
      document(s) 158 Order Setting Hearing (bk)).

MOVANT : William Bevan BY J Burns

      [173] Second Motion to Sell 11229 Empire Lane; Rockville,
      MD 20852 Free and Clear of Liens and Notice of
      Motion. Fee Amount $188. Notice Served on 4/30/2023,
      Filed by William C Bevan Jr.. Objections due by
      05/22/2023. with three additional calendar days
      allowed if all parties are not served electronically.
      Hearing scheduled for 05/31/2023 at 02:00 PM −
      Courtroom 3−D. (Attachments: #s3 List of All
      Creditors)

MOVANT : William Bevan BY J Burns

      [177] Line Supplying Concerned Email From Broker For Buyer
      On Rockville Property Requested to be Placed Before
      the Bankruptcy Court Relative to May 3, 2023 Hearing

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      Matter on behalf of William C Bevan Jr. Filed by
      John D. Burns (related document(s) 158 Order
      Setting Hearing (bk)).

MOVANT : William Bevan BY J Burns

      [184] Response on behalf of US Bank Trust National Association
      Not In Its Individual Capacity But Solely As Owner
      Trustee for LSRMF MH Master Participation Trust
      II Filed by Leah Christina Freedman (related document(s)
      173 Motion to Sell Free and Clear of Liens and
      Notice of Motion filed by Debtor William C Bevan).


      [186] Line Supplement on behalf of William C Bevan Jr.
      Filed by John D. Burns (related document(s) 185
      Line filed by Debtor William C Bevan).

MOVANT : William Bevan BY J Burns

      [187] Line Regarding Debtor's Instructions to Bankruptcy
      Judge on behalf of William C Bevan Jr. Filed by
      John D. Burns (related document(s) 1 Exhibit
      1)

MOVANT : William Bevan BY J Burns

DISPOSITIONS:

Plan: Confirmed Modified Hold Interlineation:$          Mos.     Converted to Ch
Denied without/with leave to amend by:                   Conf:               Dismissed
Continued to:

Other Matters: (List Paper No next to ruling)

        Granted                 Sustained               Denied
        Overruled               Withdrawn               Under              Adv.
        Moot                    Consent                 Dismissed
        O.T.J. Fee

DECISION:

  [ ] Signed by Court            [ ] Filed by Counsel
  [ ] To be prepared by:
        [ ] Movant's counsel           [ ] Court
        [ ] Respondent's counsel       [ ] Other

NOTES: In addition to those listed above Evan Meyers for Old Georgetown HOA.
Counsel for Debtor, Burns, to withdraw from case. Matter continued. Debtor
admonished to stop playing games. His actions have been the cause of the
problems in the case. Court advised him to get new counsel within 14 days.
Court will not entertain delays. Parties to get agreed upon date to hear MTC
and other pleadings before the court.




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